Case 1:23-cv-00187-SAH Document 6-2 Filed 10/10/23 Page 1 of 9
                      Case 1:23-cv-00187-SAH Document 6-2 Filed 10/10/23 Page 2 of 9




                    written consent of the Parties.”

                1.2 The entirety of Section 3.2 of the Definitive Agreement shall be superseded and replaced in its
                    entirety with the following language:

                    “3.2 Deliverables. The parties acknowledge and agree that GAME COMPANY will
                    deliver to GALA GAMES all deliverables set forth on Exhibit A (the “Deliverables”),
                    and Gala acknowledges and agrees that GAME COMPANY has delivered all
                    deliverables through the Release of Game / Commercial Launch Milestone, materially in
                    accordance with the specifications approved by GALA GAMES. With respect to Console
                    Milestones in 2023 and thereafter, GAME COMPANY will provide such Deliverables
                    materially in accordance with written specifications mutually agreed to by the parties in
                    advance, but in any case, no later than the Milestone Payment Due Date (the
                    “Specifications”). If, at any time in 2023 or thereafter, GALA GAMES reasonably
                    determines that any of the delivered Deliverables do not materially conform to the
                    Specifications, then GALA GAMES will issue to GAME COMPANY a notice of
                    rejection that describes the reasons for the rejection for failure to meet the previously
                    determined written Specifications in accordance with Section 13.6 as soon as reasonably
                    practicable but not later than 10 Business Days following receipt of the applicable
                    Deliverables. Upon receiving the notice of rejection, GAME COMPANY will use
                    commercially reasonable efforts to correct the rejected Deliverables and deliver those
                    corrected Deliverables for test and evaluation by GALA GAMES within thirty (30) days
                    (the “Cure Period”) of receiving the notice of rejection. During the Cure Period, the test
                    and evaluation procedures provided in this Section will be repeated for the corrected
                    Deliverables or until GALA GAMES accepts those Deliverables. Notwithstanding the
                    foregoing, if the rejected Deliverables are not corrected within the Cure Period, it will be
                    deemed to be a material breach of this Agreement and subject to Section 9.2(a). In the
                    event that notice of acceptance or notice of rejection is not received within 10 Business
                    Days following receipt of the applicable Deliverables, GAME COMPANY must remind
                    GALA GAMES by email to legal@gala.games and in the event that notice of acceptance
                    or notice of rejection is not received within 5 Business Days following such reminder, the
                    Deliverables in question shall be deemed accepted. In addition, upon GALA GAMES’s
                    request, GAME COMPANY must provide GALA GAMES with “master copies” of
                    Licensed IP free of charge, for use by GALA GAMES within the scope of its rights
                    licensed by GAME COMPANY hereunder.”


                1.3 The entirety of Section 3.3(a) and Section 3.3(c) of the Definitive Agreement shall be superseded
                    and replaced in their entirety with the following language:

                    “(a) GALA GAMES. GALA GAMES will provide reasonable consultation to GAME
                    COMPANY on the iterative creation, design, editing, management, and control of the
                    presentation of the Branded Game on the GALA GAMES Platform and other agreed-upon
                    platforms. The Parties will collaborate on a monthly Web3 strategy towards adapting
                    Web3 strategy to upcoming milestones, provided that failure to do so shall not be deemed
                    a breach of this Amendment or the Agreement. GALA GAMES retains authority and
                    responsibility to stop any end user or other transaction or take other actions to restrict
                    access to or the availability of any feature of the Branded Game on the GALA GAMES
                    Platform, in the event that it is aware and determines that it is legally necessary to do so.

                    “(c) Non-Fungible Tokens. GAME COMPANY understands and agrees that the GALA
                    GAMES Platform is dependent and focuses on providing end users with the ability to “own
                                                             2



Document Ref: 58KJD-MQYQ7-AZYZV-U4EZN                                                                                   Page 2 of 8
                      Case 1:23-cv-00187-SAH Document 6-2 Filed 10/10/23 Page 3 of 9




                    their own content” through the use of Non-Fungible Tokens. As such, GAME
                    COMPANY understands that, once Game Virtual Items are created and provided to
                    the end user in the form of Non-Fungible Tokens, GAME COMPANY cannot then
                    remove said Game Virtual Item or render said Game Virtual Item useless from the
                    Branded Game. GALA GAMES may provide GAME COMPANY with instructions on
                    Game Virtual Items, upon written request by GAME COMPANY. GAME COMPANY
                    agrees that in any upgrades, updates, or otherwise, GAME COMPANY will not de-buff,
                    or reduce the desirability or effectiveness, of any Game Virtual Item in the form of a
                    Non-Fungible Token. GALA GAMES shall have the right to inspect any and all proposed
                    changes or additions to the Branded Game or Game Virtual Items contained in a Branded
                    Game before implementation to ensure that Non-Fungible Tokens contained within the
                    Branded Game are not de-buffed provided that GALA GAMES shall undertake any such
                    inspections expediently and shall not unreasonably withhold, condition, or delay any
                    approval, nor request any unreasonable changes or implement any unreasonable
                    requirement, in respect of any such changes or additions to the Branded Game or Game
                    Virtual Items or the use of Non-Fungible Tokens. If GALA GAMES reasonably
                    determines that any proposed changes or additions to the Branded Game or Game Virtual
                    Items do not conform with at its discretion or with previously provided, commercially
                    reasonable instructions, GALA GAMES will issue to GAME COMPANY a notice of
                    rejection of the proposed changes or additions in accordance with Section 13.6 as soon as
                    reasonably practicable. Upon receiving a notice of rejection from GALA GAMES that
                    describes the reasons for its rejection of the proposed changes or additions, GAME
                    COMPANY will refrain from implementing the proposed changes or additions and/or
                    will use commercially reasonable efforts to revise the proposed changes that have been
                    rejected and deliver those revised proposed changes to GALA GAMES within the Cure
                    Period (defined below). During the Cure Period, the test and evaluation procedures
                    provided in this Section will be repeated for the corrected deliverables or until GALA
                    GAMES accepts those deliverables. Notwithstanding the foregoing, if the deliverables
                    are not corrected within the Cure Period, it will be deemed a material breach of this
                    Agreement and subject to Section 9.2(a). In the event that notice of acceptance or rejection
                    of the proposed changes is not received within 10 Business Days following receipt of a
                    request for approval of the proposed changes, GAME COMPANY must remind GALA
                    GAMES by email to legal@gala.games and in the event that notice of acceptance or
                    rejection is not received within 5 Business Days following such reminder, the applicable
                    proposed changes or additions to the Branded Game or Game Virtual Items or the use of
                    Non-Fungible Tokens shall be deemed accepted. This representation is binding upon, and
                    inures to the benefit of, the parties and their respective successors and assigns. This
                    representation shall survive any and all sale under this Agreement, including a sale under
                    Section 6 of this Agreement, with specific reference to, but not limited to, any sale of
                    Licensed IP, sale of GAME COMPANY, or otherwise.

                1.4 The entirety of Section 4.1 Marketing, Section 5.1 Agreement as to Costs (“Development
                    Budget”), and Section 5.2 Payments and Reports, in the Definitive Agreement shall be
                    superseded and replaced in its entirety with the following language:

                    “4.1 Marketing. GALA GAMES will use best efforts in the marketing, advertising, and
                    promotion of the Branded Game on the GALA GAMES Platform, the console targeted
                    for Console Launch, and other mutually agreed-upon platforms. This includes, but is not
                    limited to, all Non-Fungible Token presale and distribution, marketing and user
                    acquisition. GALA GAMES undertakes to spend at least as much in such marketing,
                    advertising and promotion efforts, as it spends on other games on the GALA GAMES
                                                                 3



Document Ref: 58KJD-MQYQ7-AZYZV-U4EZN                                                                              Page 3 of 8
                      Case 1:23-cv-00187-SAH Document 6-2 Filed 10/10/23 Page 4 of 9




                    Platform that have similar development budgets.”

                    “5.1 Agreement as to Costs (“Development Budget”). GALA GAMES agrees to provide
                    Eight Million and 00/100 USD (US $8,000,000.00) (“Development Budget”) for the
                    Branded Game based on the Development Schedule, attached as Exhibit A and made a
                    part hereof. For the avoidance of doubt, GAME COMPANY acknowledges and agrees
                    that as of the Amendment Effective Date, GALA GAMES has paid GAME COMPANY
                    Seven Million Dollars and 00/100 ($7,000,000.00) of the Development Budget. The
                    remaining balance owed from the Development Budget in the amount of One Million
                    Dollars and 00/100 ($1,000,000.00) (hereinafter referred to as the “Remaining
                    Development Fee”) is due and owing within fifteen (15) days upon execution and
                    delivery of that certain Amendment and Acknowledgment Agreement to this Agreement
                    entered into as of the Amendment Effective Date, and as a condition of the effectiveness
                    thereof. In addition to the Remaining Development Fee, GALA GAMES shall pay a total
                    of One Million and Five Hundred Thousand Dollars and 00/100 ($1,500,000.00) ("Game
                    Console Fee”) for the Game Console Release (defined below) which shall be payable in
                    increments based on the Milestone Payment Dates set forth in Exhibit A. Game Console
                    Fee will be non-refundable but shall be recouped in the calculation of Adjusted Game Net
                    Revenues.


                    5.2 Payments and Reports. GALA GAMES will timely pay, on a quarterly basis, via
                    wire or electronic funds transfer to the GAME COMPANY account as provided by the
                    GAME COMPANY, GAME COMPANY's share of all Adjusted Game Net Revenue
                    derived from the Branded Game, together with all other Income or Revenue due GAME
                    COMPANY under this Agreement. GALA GAMES will provide a quarterly report
                    upon written request. All payments, net of all applicable withholding income taxes if
                    any, will be made in cryptocurrency or United States Dollars, which shall be determined
                    in the sole discretion of GALA GAMES.

                1.5 The entirety of Section 9.2 of the Definitive Agreement shall be superseded and replaced in its
                    entirety with the following language:

                    “9.2(a) Termination for Material Breach. Either Party may terminate this Agreement if the
                    other Party does not cure its serious material breach of this Agreement within thirty (30)
                    days (“Cure Period”) of receiving written notice of the material breach from the
                    non-breaching Party. Termination in accordance with this Section 9.2 will take effect when
                    the breaching Party receives written notice of termination from the non-breaching Party,
                    which notice must not be delivered until the breaching Party has failed to cure its material
                    breach during the Cure Period.”

                1.6 The following provision shall be added to the Definitive Agreement as Section 9.2(b):

                    “9.2(b) Termination for Convenience. GALA GAMES may terminate this Agreement,
                    without cause and/or without the occurrence of default, by giving thirty (30) days written
                    notice to GAME COMPANY (“Termination for Convenience”). Upon any such
                    termination for convenience, GALA GAMES will only be liable to pay for sum of a) the
                    Deliverables accepted up until such termination and b) if a Termination of Convenience is

                                                                 4



Document Ref: 58KJD-MQYQ7-AZYZV-U4EZN                                                                                 Page 4 of 8
                      Case 1:23-cv-00187-SAH Document 6-2 Filed 10/10/23 Page 5 of 9




                    given before the Console Launch, then a pro rata amount of the Seven Hundred Fifty
                    Thousand and 00/100 USD ($750,000.00 USD) of the Console Launch budget. For the
                    avoidance of doubt, the pro rata amount will be determined using a daily rate formula, in
                    which, the $750,000.00 shall be divided by 90 days starting on March 10, 2023 through
                    June 10, 2023. In the event that GALA GAMES terminates for convenience, GALA
                    GAMES shall pay the pro rata amount up until the 30th day after written notice is given to
                    GAME COMPANY. Notwithstanding the foregoing, the Exclusive Game Platform Term
                    with respect to all gaming and other platforms, other than blockchain gaming and
                    blockchain platforms, shall automatically and immediately cease as of the date of such
                    notice; and (ii) Sections 6.2(A) Right of First Refusal and 6.2(B) Sale of Game Company
                    shall be waived by GALA GAMES on such notice.”

                1.7 The following provision shall be added to the Definitive Agreement as Section 9.4(e):

                    “(e) Upon the expiration or termination of this Agreement for uncured material breach due
                    to the failure to deliver the Deliverables according to the Specifications by GAME
                    COMPANY as set forth in Section 3.2 and Exhibit A, the license to the Licensed IP under
                    Section 1 shall be automatically expanded to include the right by GALA GAMES to use
                    the Licensed IP to complete the development of the Branded Game and maintain the
                    operation of the Branded Game (and GAME COMPANY shall provide reasonable
                    cooperation and assistance to GALA GAMES upon GALA GAMES’ written request and
                    at their expense in transitioning the development of the Branded Game to an alternate
                    service provider approved by GALA GAMES, including delivering the source code for the
                    Branded Game) in perpetuity.




                                                                5



Document Ref: 58KJD-MQYQ7-AZYZV-U4EZN                                                                            Page 5 of 8
                       Case 1:23-cv-00187-SAH Document 6-2 Filed 10/10/23 Page 6 of 9




                1.8 The entirety of Exhibit A of the Definitive Agreement shall be replaced with the
                    following:

                                                       “EXHIBIT A

                                                 DEVELOPMENT SCHEDULE


           Milestone                    Deliverables                Milestone              Milestone Due Date
                                                                     Amount
           Commencement of              Signing of Definitive       $1,000,000.00          January 22, 2022
           Branded Game                 Agreement
           Development
           Branded Game Ready           Game Presale                $3,000,000.00          March 1, 2022
           For Launch Phase
           Beta Release of Game         Beta Game/MVP               $3,000,000.00          July 1, 2022
                                        Launch
           Release of Game              Commercial Launch           $1,000,000.00          Within 15 days of
                                                                                           Amendment Effective
                                                                                           Date
           Commencement of              Signing of Amendment        $750,000.00            Within 15 days of
           Console Development                                                             Amendment Effective
                                                                                           Date
           Release of Game on           Console Launch              $750,000.0 0           June 1, 2023
           Console




                                                                6



Document Ref: 58KJD-MQYQ7-AZYZV-U4EZN                                                                            Page 6 of 8
                      Case 1:23-cv-00187-SAH Document 6-2 Filed 10/10/23 Page 7 of 9




           As used above: “Beta Game/MVP Launch” means a version of the game is made available by GAME
           COMPANY to GALA GAMES for availability to play by GALA GAMES users who either own a
           specific NFT to access the game or purchase the game via Stream or similar platform. The version of the
           game is feature complete but may include bugs and require additional polish.
           “Commercial Launch” means a version of the game that is content complete is made available by GAME
           COMPANY to GALA GAMES for availability to play by all GALA GAMES users (does not require the
           user to own a specific NFT to access the game). This version shall meet or exceed prevailing industry
           standards for software release candidates, and GALA GAMES or GAME COMPANY, as applicable, fully
           enables the monetization features and initiates more than a de minimus amount of public marketing support
           for the Branded Game.


           “Game Presale” means that GALA GAMES, at its sole discretion, has accepted the following
           deliverables: (a) NFT creation and release strategy written and agreed upon by the Parties, and (b) Game
           Design Document written by GAME COMPANY and agreed upon by the Parties and (c) Gala Games has
           played a version of the Branded Game that contains GDD/TDD gameplay, prototype, visual target
           prototype, and feature greybox, and determines to engage in an NFT presale and to move towards a Beta
           Game/MVP Launch.

           “Console Game” means a version for a console version of the Branded Game to be determined,
           feature parity with the Steam release, no Web 3 features. For the avoidance of doubt, all references
           made to Branded Game within the Agreement shall also refer to the Console version of the Branded
           Game.

           Console Development Specifications: Shall be provided by Gala in a separate agreement. Specific
           deliverables shall be mutually agreed upon by both Parties in writing (email is acceptable) within 30 days
           of Amendment Effective Date. For the avoidance of doubt, the Console Development Specifications shall
           include a Battle Pass system that can be used in the web2 and web3 version of the Branded Game.

       2. No Other Changes. As specifically modified herein, GALA GAMES and GAME COMPANY agree that
          the Definitive Agreement, as previously amended, remains in full force and effect, is binding by all of its
          terms, and is hereby ratified and confirmed as though set forth at length herein. Each Party warrants,
          represents and affirms that it has read and understands the terms and conditions set forth in the




                                                               7



Document Ref: 58KJD-MQYQ7-AZYZV-U4EZN                                                                                   Page 7 of 8
                      Case 1:23-cv-00187-SAH Document 6-2 Filed 10/10/23 Page 8 of 9




           Definitive Agreement and in this Amendment and in the prior amendment and it hereby expressly validates
           all obligations and covenants pertaining to it therein. Each Party acknowledges and understands that it has
           the right to consult legal counsel concerning this Amendment and that it has either consulted with such legal
           counsel or has voluntarily waived such right to do so.

       3. Miscellaneous. This Amendment may be signed in counterpart, and may be executed and delivered by
          facsimile, electronic means and/or email, which when taken together will have the same effect as if signed
          in the original by all parties hereto. This Amendment, the prior amendment and the Definitive Agreement
          supersedes all prior agreements among the Parties hereto with respect to the subject matter hereof and
          contains the entire agreement among the parties with respect to the subject matter hereof. The provisions of
          this Agreement shall be binding upon and inure to the benefit of the parties hereto and their respective
          successors and permitted assigns.

           IN WITNESS WHEREOF, the Parties have duly executed this Amendment by their signatures below on
           the dates indicated.

           BLOCKCHAIN GAME PARTNERS, INC.                            DRIFTER ENTERTAINMENT INC.



           Signature:                                                Signature:
           Name: Eric Schiermeyer                                    Name:        Ray Davis
           Title: CEO                                                Title:       CEO
           Date:         2023-03-17                                  Date:        2023-03-17




Document Ref: 58KJD-MQYQ7-AZYZV-U4EZN                                                                                      Page 8 of 8
           Case 1:23-cv-00187-SAH Document 6-2 Filed 10/10/23 Page 9 of 9




Signature Certificate
Reference number: 58KJD-MQYQ7-AZYZV-U4EZN




 Signer                                 Timestamp                             Signature

 Eric Schiermeyer
 Email: eric@gala.games

 Sent:                                  17 Mar 2023 17:54:45 UTC
 Viewed:                                17 Mar 2023 17:56:32 UTC
 Signed:                                17 Mar 2023 17:56:54 UTC

 Recipient Verification:
 ✔Email verified                        17 Mar 2023 17:56:32 UTC              IP address: 191.102.39.194



 Ray Davis
 Email: ray@drifter.games

 Sent:                                  17 Mar 2023 17:54:45 UTC
 Viewed:                                17 Mar 2023 18:03:30 UTC
 Signed:                                17 Mar 2023 18:05:12 UTC

 Recipient Verification:                                                      IP address: 98.97.37.49
 ✔Email verified                        17 Mar 2023 18:03:30 UTC              Location: Seattle, United States




Document completed by all parties on:
17 Mar 2023 18:05:12 UTC


Page 1 of 1




                   Signed with PandaDoc

                   PandaDoc is a document workflow and certified eSignature
                   solution trusted by 40,000+ companies worldwide.
